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S C H I L L E R




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                                         UNITED STATES DISTRICT COURT
                     14         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                     15 BROIDY CAPITAL MANAGEMENT                      Case No. 18-cv-02421-JFW
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                          LLC and ELLIOTT BROIDY,
                     16                                                PLAINTIFFS’ REPLY IN SUPPORT
                                       Plaintiffs,                     OF MOTION FOR THE COURT TO
                     17                                                SOLICIT THE POSITION OF THE
                                v.                                     UNITED STATES DEPARTMENT
                     18                                                OF STATE
                          STATE OF QATAR, STONINGTON
                     19 STRATEGIES LLC, NICOLAS D.                     The Honorable John F. Walter
                        MUZIN, GLOBAL RISK ADVISORS
                     20 LLC, KEVIN CHALKER, DAVID                      Hearing Date: August 27, 2018
                        MARK POWELL, MOHAMMED BIN                      Amended Complaint: May 24, 2018
                     21 HAMAD BIN KHALIFA AL THANI,                    Discovery Cut-Off: March 1, 2019
                        AHMED AL-RUMAIHI, and DOES 1-                  Pretrial Conference Date: June 7, 2019
                     22 10,                                            Trial Date: June 25, 2019
                     23                Defendants.
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                                                                                            Case No. 18-cv-02421-JFW
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                     1                                        ARGUMENT
                     2         Although the Court dismissed the State of Qatar (“Qatar”) from this action
                     3 (ECF No. 198), none of the remaining Defendants are foreign sovereigns. They are
                     4 instead American citizens and corporations attempting to cloak themselves with
                     5 foreign sovereign immunity in an attempt to evade responsibility for actions that
                     6 violated United States law and caused damage to U.S. citizens. Global Risk Advisors
                     7 and Kevin Chalker (the “GRA Defendants”) claim “derivative sovereign immunity
L L P




                     8 and foreign official immunity” (ECF No. 192 at 2-3) and Nicolas Muzin and
F L E X N E R




                     9 Stonington Strategies (the “Stonington Defendants”) claim “derivative sovereign and
                    10 diplomatic agent immunity,” (ECF No. 194 at 1).
                    11         Plaintiffs’ opening brief explains that, to the extent this Court does not
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                    12 summarily reject the GRA and Stonington Defendants’ assertions of foreign sovereign
                    13 immunity for their activities in this case, circumstances warrant soliciting the State
                    14 Department’s position concerning those assertions. (ECF 169-1 at 4-5). Those
                    15 Defendants’ responses confirm the wisdom of seeking the position of the U.S.
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                    16 Department of State (“State Department”).
                    17 I.      Under Samantar, The First Step In Analyzing Sovereign Immunity For A
                    18         Non-Sovereign State Is To Determine Whether The State Department Has
                    19         Taken A Position With Respect To The Defendants At Issue.
                    20         Although the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C.
                    21 § 1604, transferred adjudication of claims of immunity by foreign states, their
                    22 political subdivisions, and agencies or instrumentalities of foreign states to the courts,
                    23 the FSIA did not displace the State Department’s role in determining official
                    24 immunity under the common law for those not covered by the FSIA. Samantar v.
                    25 Yousuf, 560 U.S. 305, 323 (2010) (further stating that “[w]e have been given no
                    26 reason to believe that Congress saw as a problem, or wanted to eliminate, the State
                    27 Department’s role in determinations regarding individual official immunity.”). For
                    28                                            -1-                      Case No. 18-cv-02421-JFW
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                     1 such cases, the Samantar court outlined a “two-step procedure” for determining
                     2 whether the individual had immunity under the common law: The Court first looks to
                     3 a “Suggestion of Immunity” submitted by the State Department and, absent that, will
                     4 then consider “whether the ground of immunity is one which it is the established
                     5 policy of the [State Department] to recognize.” Samantar, 560 U.S. at 312.
                     6         Accordingly, under Samantar, the position of the State Department not only is
                     7 helpful when assessing assertions of sovereign immunity outside of the FSIA, it is
L L P




                     8 given extreme deference. See Yousuf v. Samantar, 699 F.3d 763, 773 (4th Cir. 2012)
F L E X N E R




                     9 (“Samantar II”) (“[W]e give absolute deference to the State Department’s position on
                    10 status-based immunity doctrines such as head-of-state immunity.”). Indeed, the Ninth
                    11 Circuit specifically has held that Courts should follow a Suggestion of Immunity from
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                    12 the State Department. See Peterson v. Islamic Republic of Iran, 627 F.3d 1117, 1126
                    13 (9th Cir. 2010) (historically when there is a Suggestion of Immunity, the “district
                    14 court dismisse[s] the case for lack of jurisdiction”); Siderman de Blake v. Republic of
                    15 Argentina, 965 F.2d 699, 705 (9th Cir. 1992) (“When the State Department issued a
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                    16 suggestion of immunity in a particular case, the court followed it . . . .”).
                    17         Here, there is reason to believe that the State Department either will specifically
                    18 disavow immunity for the GRA and Stonington Defendants, or will decline to issue a
                    19 Suggestion of Immunity at all. This is because it is the established policy of the State
                    20 Department to deny foreign sovereign immunity to individuals and entities who are
                    21 U.S. residents. See Samantar II, 699 F.3d at 767 (deciding on remand that “U.S.
                    22 residents like Samantar who enjoy the protections of U.S. law ordinarily should be
                    23 subject to the jurisdiction of our courts, particularly when sued by U.S. residents ....”
                    24 (quoting State Department’s statement of interest)); see also Statement of Interest of
                    25 the United States of America 9, Ahmed v. Magan, No. 2:10-cv-00342-GCS-MRA
                    26 (S.D. Ohio Mar. 15, 2011), ECF No. 45, available at
                    27 https://www.state.gov/documents/organization/194069.pdf (State Department noting
                    28                                            -2-                      Case No. 18-cv-02421-JFW
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                     1 in the case of a former Somali military officer residing in the United States, that “the
                     2 interest in permitting U.S. courts to adjudicate claims against U.S. residents warrants a
                     3 denial of immunity”).
                     4         In response, the GRA and Stonington Defendants cite no State Department
                     5 policy or Suggestion of Immunity in which the State Department takes the position
                     6 that an American citizen or company is entitled to any form of foreign sovereign
                     7 immunity (whether derivative sovereign immunity, diplomatic agent or foreign
L L P




                     8 official immunity) for acts subjecting it to jurisdiction in U.S. courts. This Court thus
F L E X N E R




                     9 should either seek a Statement of Interest from the State Department or deny
                    10 sovereign immunity to these defendants on the ground that U.S. courts should not
                    11 “allow an immunity on new grounds which the government has not seen fit to
S C H I L L E R




                    12 recognize.” Republic of Mexico v. Hoffman, 324 U.S. 30, 35 (1945).
                    13 II.     The GRA Defendants’ Argument That U.S. Citizens Are Entitled To
                    14         Foreign Official Immunity In United States Courts Is Sufficiently Novel To
                    15         Warrant Soliciting The State Department’s Position.
B O I E S




                    16         The GRA Defendants, a U.S. citizen and a U.S. company, contend that their
                    17 right to foreign official immunity is “straightforward,” and that foreign official
                    18 immunity applies any time “an individual or entity is alleged to have acted in an
                    19 official capacity on behalf of a foreign state.” (ECF No. 192 at 4.) They cite no case
                    20 law or State Department policy to support this position, which is contrary to the policy
                    21 positions of the State Department as set forth above. The GRA Defendants thus are
                    22 seeking to make new policy and new law regarding sovereign immunity for U.S.
                    23 citizens and entities. In such a circumstance, pursuant to Samantar, the Court should
                    24 first determine whether the State Department wishes to take a position with respect to
                    25 the GRA Defendants’ arguments. Samantar, 560 U.S. at 312.
                    26       A.         The Court Should Ask the State Department Whether U.S. Citizens
                    27                  Can, as a Matter of Official U.S. Policy, Enjoy Foreign Official
                    28                                               -3-                      Case No. 18-cv-02421-JFW
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                     1                 Immunity in U.S. Courts.
                     2         Contrary to the GRA Defendants’ assertions that U.S citizens appearing as
                     3 defendants in U.S. courts can qualify as “foreign officials” within the reach of the
                     4 foreign official immunity doctrine on the basis of a contractual relationship with the
                     5 foreign state (ECF 192 at 4), the State Department has clearly stated that U.S. citizens
                     6 do not enjoy diplomatic immunity in U.S. courts under the Vienna Convention merely
                     7 through employment by a foreign diplomatic mission. See U.S. Dep’t of State Office
L L P




                     8 of Foreign Missions, Diplomatic and Consular Immunity: Guidance for Law
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                     9 Enforcement and Judicial Authorities 12 (2015), available at
                    10 https://www.state.gov/documents/organization/150546.pdf. To the extent the Court
                    11 has any questions regarding the State Department’s likely position with respect to the
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                    12 GRA Defendants, the Court should solicit the State Department’s position concerning
                    13 the GRA Defendants’ novel assertion that the State Department would take a contrary
                    14 position here.
                    15      B.         The Court Should Ask the State Department Whether It Would
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                    16                 Extend Sovereign Immunity to U.S. Citizens and Companies Where
                    17                 the Foreign State Has Not Ratified Them as Officials of the State.
                    18         Foreign official immunity ultimately belongs to the foreign sovereign, not the
                    19 individual. Samantar II, 699 F.3d at 777 (“The immunity protecting foreign officials
                    20 for their official acts ultimately belongs to the sovereign rather than the official.”). As
                    21 a general rule, courts do not extend the protections of sovereign immunity to an
                    22 individual without some evidence that the sovereign considers the individual to have
                    23 been acting as an official of the foreign sovereign. In re Estate of Ferdinand Marcos,
                    24 Human Rights Litig., 25 F.3d 1467, 1472 (9th Cir. 1994) (denying immunity to former
                    25 President of the Philippines based on the government of the Philippines declining to
                    26 assert immunity on his behalf). Though the GRA Defendants persistently assert that
                    27 foreign official immunity applies to them, their response provides no evidence that
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                      1 Qatar has confirmed they were acting as “officials” of Qatar within the meaning of the
                      2 foreign official immunity doctrine when they undertook the actions described in the
                      3 First Amended Complaint (“FAC”). Moreover, Qatar has been silent on this point
                      4 both before and during the briefing of this motion.1
                      5         Therefore, even if the GRA Defendants could theoretically enjoy foreign
                      6 official immunity, an unresolved question would remain: Does official U.S. policy
                      7 extend foreign official immunity to the GRA Defendants even in the face of Qatar’s
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                      8
                            For example, a diplomatic representative of the sovereign could request a ‘suggestion
F L E X N E R




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                          of immunity’ from the State Department.” Samantar, 560 U.S. at 311; Lewis v.
                    10    Mutond, 258 F. Supp. 3d 168 (D.D.C. 2017) (Congolese Ambassador submitted a
                    11    letter showing the Congolese government had asked the U.S. State Department to file
                          a Suggestion of Immunity on behalf of two officials). In addition, courts look to other
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                    12    statements of the foreign state “to determine whether the defendant committed the
                    13    alleged acts in an official capacity.” Belhas v. Ya’alon, 515 F.3d 1279, 1283 (D.C.
                          Cir. 2008) (defendant “moved to dismiss for lack of subject matter jurisdiction and
                    14    attached a letter from the Ambassador of the State of Israel to the United States”).
                    15    When the State Department evaluates whether to issue a Suggestion of Immunity, one
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                          of the central factors it looks to is whether the foreign sovereign has requested
                    16    immunity for the individual. The position was stated by the State Department Legal
                    17    Adviser that “the immunities of foreign officials belong to the foreign state – not to
                          the officials personally[.]” Harold Hongju Koh, Foreign Official Immunity After
                    18    Samantar: A United States Government Perspective, 44 Vand. J. Transnat’l L. 1141,
                    19    1153 (2011); Rosenberg v. Lashkar-e-Taiba, No. 10-cv-5381-DLI-CLP, ECF No. 35,
                          at *9 (S.D.N.Y. Dec. 17, 2012) (“In making the official capacity determination, the
                    20    Department of State considers a foreign government's request (if there is such a
                    21    request) that the Department of State suggest the former official’s immunity.”); see
                          also Erica E. Smith, Note, Immunity Games: How the State Department Has Provided
                    22    Courts with A Post-Samantar Framework for Determining Foreign Official Immunity,
                    23    67 Vand. L. Rev. 569, 580 (2014) (discussing how in a Suggestion of Immunity “the
                          State Department explained that the associated foreign state typically requests a
                    24    suggestion of immunity on behalf of its officials when a claim of foreign official
                    25    immunity is raised.”). Unlike cases in which the State Department (and, in turn, the
                          court) has recognized an individual’s claim to sovereign immunity, Qatar has not
                    26    asked the State Department to file a suggestion of immunity and has not otherwise
                    27    made any statement asserting that the GRA Defendants were acting as officials of the
                          state in connection with the FAC.
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                      1 silence as to whether the GRA Defendants were acting as officials of the state in
                      2 connection with the allegations in the FAC? To the extent the Court has any questions
                      3 regarding the resolution of that question, the Court should pose them to the State
                      4 Department.
                      5      C.         The Court Should Ask the State Department Whether a U.S. Citizen
                      6                 or Company Can Enjoy Foreign Official Immunity Without
                      7                 Ratification of U.S. Citizen’s or Company’s Acts as Official Acts of
L L P




                      8                 the State.
F L E X N E R




                      9        Just as foreign official immunity does not apply to everyone who claims to be
                    10 an official of a foreign state, it also does not necessarily apply to every act by
                    11 individuals that are recognized as foreign officials. That is, “[a] lawsuit against a
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                    12 foreign official acting outside the scope of his authority does not implicate any of the
                    13 foreign diplomatic concerns involved in bringing suit against another government in
                    14 United States courts.” In re Estate of Ferdinand Marcos, Human Rights Litig., 25 F.3d
                    15 1467, 1472 (9th Cir. 1994) Historically, assertions of immunity by lower-level
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                    16 foreign officials have had “inconsistent results.” Samantar II, 699 F.3d at 772; see
                    17 also Ahmed v. Magan, No. 2:10-CV-342, 2011 WL 13160129, at *1 (S.D. Ohio Nov.
                    18 7, 2011) (denying immunity to a former Somali official based on the recommendation
                    19 of the State Department). Even assertions by high-ranking government officials do
                    20 not necessarily result foreign official immunity for the specific acts at issue. For
                    21 example, on remand from the Supreme Court, the Fourth Circuit in Samantar II found
                    22 that the defendant was “not entitled to conduct-based official immunity under the
                    23 common law” despite having been a high-ranking official in a foreign government.
                    24 Samantar II, 699 F.3d at 778.
                    25         To qualify for foreign official immunity, the acts at issue must be ratified by the
                    26 foreign state as acts of the state and be “official” within the meaning of the foreign
                    27 official immunity doctrine. In re Terrorist Attacks on Sept. 11, 2001, 122 F. Supp. 3d
                    28                                               -6-                      Case No. 18-cv-02421-JFW
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                      1 181, 188 (S.D.N.Y. 2015) (recognizing immunity where “(1) the foreign state requests
                      2 it and (2) the defendant acted in his official capacity on behalf of a recognized foreign
                      3 government.”). Just as the GRA Defendants fail to present any evidence that Qatar
                      4 recognizes them as foreign officials, they also present no evidence that Qatar
                      5 recognizes their actions as official acts of Qatar. The GRA Defendants also do not
                      6 explain how the illegal actions alleged in the FAC qualify as official acts capable of
                      7 being protected by the foreign official immunity doctrine. It is well-established that
L L P




                      8 acts that “were not taken within any official mandate” are not entitled to sovereign
F L E X N E R




                      9 immunity. In re Estate of Ferdinand Marcos, 25 F.3d at 1472. To date, the GRA
                    10 Defendants have provided no evidence of an “official mandate.”
                    11         Thus, even if the GRA Defendants could claim sovereign immunity under some
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                    12 circumstances, another unresolved question would remain and should be posed to the
                    13 State Department: Does official U.S. policy extend foreign official immunity to the
                    14 GRA Defendants even in the face of Qatar’s silence as to whether the GRA
                    15 Defendants were acting as officials of the state in connection with the allegations in
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                    16 the FAC? To the extent the Court has any questions regarding the resolution of that
                    17 question, the Court should pose it to the State Department.
                    18       D.         The Cases Cited by the GRA Defendants Do Not Support Their
                    19                  Claim for Foreign Official Immunity
                    20         The GRA Defendants cite two cases for the proposition that foreign official
                    21 immunity protects individuals or entities whenever they are “alleged to have acted in
                    22 an official capacity on behalf of a foreign state.” (ECF No. 192 at 4.) Neither case
                    23 applies foreign official immunity to a U.S. citizen in connection with commercial
                    24 contracts performed on behalf of a foreign state. Farhang v. Indian Inst. of Tech., 655
                    25 F. App’x 569 (9th Cir. 2016), is an unpublished Ninth Circuit opinion that applies
                    26 FSIA immunity to an instrumentality of a foreign state and common law foreign
                    27 official immunity to one of the instrumentalities’ officials. 655 F. App’x at 570-71. It
                    28                                               -7-                      Case No. 18-cv-02421-JFW
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                      1 did not involve an American contractor and its owner such as the GRA Defendants
                      2 here.2 Similarly, Lewis v. Mutond, 258 F. Supp. 3d 168 (D.D.C. 2017), applies
                      3 foreign official immunity to two Congolese individuals who were officials of the
                      4 Congolese government. It also does not address immunity for an American
                      5 contractor. Id. at 169.
                      6 III.       The Court Should Solicit the State Department’s Position Concerning the
                      7            Stonington Defendants’ Argument That U.S. Citizens are Entitled to
L L P




                      8            Foreign Diplomatic Agent Immunity in U.S. Courts.
F L E X N E R




                      9            The Stonington Defendants contend they are entitled to “diplomatic agent
                    10 immunity” (ECF No. 194 at 4), and that there is “no need for a State Department
                    11 opinion on the Stonington Defendants’ diplomatic agent immunity” because they have
S C H I L L E R




                    12 registered as Qatar’s foreign agent with the U.S. Department of Justice under the
                    13 Foreign Agents Registration Act (“FARA”), (id. at 4-5). Since no case law or
                    14 established State Department policy supports this position, the Court should solicit the
                    15 State Department’s position on the Stonington Defendants’ novel argument.
B O I E S




                    16             As a general rule, under the U.S. law, “a person’s diplomatic status is
                    17 established when it is recognized by the Department of State.” Restatement (Third) of
                    18 Foreign Relations Law of the United States § 464 (1987). “[T]he State Department’s
                    19 certification, which is based upon a reasonable interpretation of the Vienna
                    20 Convention, is conclusive evidence as to the diplomatic status of an individual.”
                    21 United States v. Al-Hamdi, 356 F.3d 564, 573 (4th Cir. 2004); see also In re Baiz, 135
                    22 U.S. 403, 421 (1890) (noting that “the certificate of the secretary of state ... is the best
                    23 evidence to prove the diplomatic character of a person”); Carrera v. Carrera, 174
                    24 F.2d 496, 497 (D.C. Cir. 1949) (stating that “[it] is enough that an ambassador has
                    25 requested immunity, that the State Department has recognized that the person for
                    26 whom it was requested is entitled to it, and that the Department's recognition has been
                    27
                          2
                              Moreover, pursuant to Ninth Circuit Rule 36-3, Farhang has no precedential value.
                    28                                                -8-                      Case No. 18-cv-02421-JFW
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                      1 communicated to the court”).
                      2        The Stonington Defendants argue that their FARA registrations with the Justice
                      3 Department constitute legally sufficient notice to the State Department under Article
                      4 10 of the Vienna Convention. (ECF No. 194 at 4.) They cite no legal authority or
                      5 State Department policy supporting that argument.
                      6        To the contrary, the State Department has outlined a specific process for
                      7 notification under Article 10 of the Vienna Convention:
L L P




                      8              [T]he normal procedure is for the sending state to notify the
F L E X N E R




                      9        receiving state in advance of the intended assignment of a member of
                    10         a mission, at which time an appropriate visa is issued by the U.S.
                    11         Embassy in the sending country. That visa notifies the Department of
S C H I L L E R




                    12         State that the individual will arrive in the United States and will be
                    13         accepted at that time as an official attached to the sending state's
                    14         diplomatic mission. Immediately upon the actual arrival of the
                    15         individual, the Embassy of the sending state is required to submit a
B O I E S




                    16         Department of State form to the Office of Protocol, setting forth the
                    17         individual’s curriculum vitae.
                    18               After that form is processed, appropriate identification and
                    19         other documents will be issued. To summarize, if proper visa
                    20         application procedures and subsequent registration procedures are
                    21         taken, the diplomatic mission employee should enjoy immunity from
                    22         the moment of entry into the United States.
                    23 Vulcan Iron Works, Inc. v. Polish Am. Mach. Corp., 479 F. Supp. 1060,
                    24 1065 (S.D.N.Y. 1979) (quoting a letter to the Court from the State
                    25 Department Legal Adviser’s office).
                    26         The Stonington Defendants provide no evidence that Qatar took
                    27 any of the steps established by the State Department to seek recognition
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                      1 of the Stonington Defendants as diplomatic agents of Qatar. Nor do they
                      2 assert that they meet the State Department’s criteria to qualify as
                      3 diplomatic agents at an embassy:
                      4           For newly hired or arrived personnel to be recognized as a diplomatic
                      5           agent at an embassy, and to retain such status, a person must:
                      6           (1) be a national of the sending State and not a U.S. citizen or LPR;
                      7           (2) possess a valid diplomatic passport issued by the sending State;
L L P




                      8           (3) possess a recognized diplomatic title (Minister, Minister-
F L E X N E R




                      9           Counselor, Counselor, First Secretary, Second Secretary, Third
                    10            Secretary, Attaché, Assistant Attaché);
                    11            (4) hold an A-1 nonimmigrant visa;
S C H I L L E R




                    12            (5) be at least 21 years of age;
                    13            (6) reside on a full time basis in the Washington, DC metropolitan
                    14            area;
                    15            (7) perform diplomatic functions on an essentially full-time basis (at
B O I E S




                    16            least 35 hours per week);
                    17            (8) not engage in any professional or commercial activity in the
                    18            United States;
                    19            (9) not be subject to pending criminal charges in the United States
                    20            punishable by imprisonment of one year or more (or have immediate
                    21            family members forming part of the household of the principal
                    22            diplomat subject to such charges); and
                    23            (10) other requirements, on the basis of reciprocity.
                    24 U.S. Department of State, “Arrivals/Notification of Appointment,” (checked August 8,
                    25 2018), https://www.state.gov/ofm/accreditation/noa/index.htm.
                    26            Recognizing their lack of formal diplomatic credentials,3 the Stonington
                    27
                          3
                              Even a cursory review makes it obvious that the Stonington Defendants do not
                    28                                               -10-                     Case No. 18-cv-02421-JFW
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                      1 Defendants claim without legal support that State Department policies governing
                      2 diplomatic agent immunity do “not extend to diplomatic agents like the Stonington
                      3 Defendants.” (ECF 194 at 5.) They in effect argue that U.S. government policy
                      4 confers diplomatic agent immunity on all U.S. citizens who register as foreign agents
                      5 under FARA.
                      6        The question this raises is: Does FARA registration substitute for the specific
                      7 steps outlined by the State Department for registration as a diplomatic agent pursuant
L L P




                      8 to the Vienna Convention? To the extent the Court has any questions regarding the
F L E X N E R




                      9 resolution of that question, the Court should pose them to the State Department.
                    10 IV.     Samantar Supersedes Butters.
                    11         Both the GRA and Stonington Defendants argue that they are entitled to
S C H I L L E R




                    12 derivative sovereign immunity under Butters v. Vance Int’l, Inc., 225 F.3d 462 (4th
                    13 Cir. 2000). (ECF 192 at 3; ECF 194 at 3-4.) That court held that a U.S. contractor
                    14 working for the government of Saudi Arabia was entitled to sovereign immunity
                    15 derivative of Saudi Arabia’s immunity under the FSIA. Id. at 467. In Samantar,
B O I E S




                    16 the Supreme Court rejected this argument and made clear that sovereign immunity
                    17 under the FSIA does not extend to individuals, even high-ranking government
                    18 officials. See Samantar, 560 U.S. at 315-19. Consequently, Samantar overruled
                    19 the rationale underlying Butters.4 Under Samantar, individuals and entities that do
                    20 not qualify as “states” within the meaning of the FSIA, are entitled to immunity
                    21
                    22 qualify as diplomatic agents under State Department protocols. For example, Muzin
                       is not “a national of the sending State.” He is a U.S. citizen. Muzin does not possess a
                    23 diplomatic title. Muzin and Stonington do engage in “professional or commercial
                       activity in the United States.” In fact, Stonington is a Delaware LLC set up for
                    24 commercial activity. Muzin does not possess a diplomatic passport issued by the
                       State of Qatar or an A-1 Visa issued by the State Department (for diplomats and
                    25 government officials). The State Department requirements make clear that a U.S.
                       citizen such as Muzin is ineligible to be considered a “diplomatic agent” under Article
                    26 10 of the Vienna Convention.
                       4
                         The GRA Defendants reliance on Alicog v. Kingdom of Saudi Arabia, 860 F. Supp.
                    27 379 (S.D. Tex. 1994) is inapposite both because it pre-dates Samantar and because it
                       applies “Texas law.” Id. at 381.
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                      1 only if they obtain a Suggestion of Immunity from the State Department or can
                      2 show that the immunity is consistent with a State Department policy. Samantar,
                      3 560 U.S. at 312.
                      4        Contrary to the GRA Defendants’ argument, immunity is not automatically
                      5 “warranted where an individual or entity is alleged to have acted in an official
                      6 capacity on behalf of a foreign state.” (ECF 192 at 4.) This Court should
                      7 determine the immunity of the GRA and Stonington Defendants through the “two-
L L P




                      8 step procedure” outlined in Samantar: (1) the Court first should defer to a
F L E X N E R




                      9 Suggestion of Immunity from the State Department; and (2) absent such a
                    10 Suggestion, the Court must determine “whether the ground of immunity is one
                    11 which it is the established policy of the [State Department] to recognize.”
S C H I L L E R




                    12 Samantar, 560 U.S. at 312. (alteration in original). While Plaintiffs have
                    13 demonstrated that it is the position of the State Department to decline to recognize
                    14 immunity for American individuals and entities, if the Court has any questions
                    15 about that then it should seek the position of the State Department.
B O I E S




                    16                                       CONCLUSION
                    17         For the foregoing reasons, this Court should grant Plaintiff’s motion to solicit
                    18 the position of the United States Department of State.
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                    28                                            -12-                     Case No. 18-cv-02421-JFW
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                                                            Respectfully submitted,
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                      4
                          Dated: August 13, 2018            BOIES SCHILLER FLEXNER LLP
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                      6
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L L P




                      8                                     By:    /s/ Lee S. Wolosky
F L E X N E R




                      9
                    10                                             LEE S. WOLOSKY
                    11                                             Counsel for Plaintiffs
S C H I L L E R




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B O I E S




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